                                                                       Case 2:18-ap-01233-NB               Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59         Desc
                                                                                                           Main Document     Page 1 of 10


                                                                   1     Debra I. Grassgreen (CA Bar No. 169978)
                                                                         Malhar S. Pagay (CA Bar No. 189289)
                                                                   2     James K.T. Hunter (CA Bar No. 73369)
                                                                         PACHULSKI STANG ZIEHL & JONES LLP
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                                                                   6     Attorneys for Plaintiff Richard M. Pachulski, Chapter 11
                                                                         Trustee for the Bankruptcy Estate of Layfield & Barrett, APC
                                                                   7

                                                                   8                                      UNITED STATES BANKRUPTCY COURT
                                                                   9                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                                  10

                                                                  11     In re:                                               Case No.: 2:17-bk-19548-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12     LAYFIELD & BARRETT, APC,                             Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                              Debtor.
                                                                  14

                                                                  15     RICHARD M. PACHULSKI, Chapter 11                     Adv. Case No.: _____________
                                                                         Trustee for the bankruptcy estate of Layfield &
                                                                  16     Barrett, APC,                                        COMPLAINT FOR AVOIDANCE AND
                                                                                                                              RECOVERY OF PREFERENTIAL
                                                                  17                                  Plaintiff,              TRANSFERS

                                                                  18     vs.

                                                                  19     JEFFREY YOUNG, CONAL DOYLE,
                                                                         WILSHIRE LAW FIRM, PLC, BABAK
                                                                  20     BOBBY SAADIAN, NEIFERT KHORSHID,
                                                                         a professional law corporation, and DOES 1
                                                                  21     through 10,

                                                                  22                                  Defendants.

                                                                  23              Plaintiff, Richard M. Pachulski, in his capacity as the Chapter 11 Trustee of the bankruptcy

                                                                  24     estate of Layfield & Barrett, APC (“Plaintiff” or the “Trustee”), alleges as follows:

                                                                  25                                               JURISDICTION AND VENUE

                                                                  26              1.      The Court has jurisdiction over this complaint pursuant to 28 U.S.C. § 157 and §

                                                                  27     1334, and venue in this district is proper pursuant to 28 U.S.C. § 1409.

                                                                  28


                                                                         DOCS_LA:315850.1 51414/001
                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59                 Desc
                                                                                                      Main Document     Page 2 of 10


                                                                   1               2.     This adversary proceeding is commenced pursuant to Rule 7001(1) of the Federal

                                                                   2     Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and all claims set forth herein are core

                                                                   3     proceedings under 28 U.S.C. § 157(b)(2)(F). The Trustee confirms his consent pursuant to Local

                                                                   4     Bankruptcy Rule 9013-1(f) to the entry of a final order by the Court in connection with the claims

                                                                   5     set forth herein to the extent that it is later determined that the Court, absent the consent of the

                                                                   6     parties, cannot enter final orders or judgments in connection herewith consistent with Article III of

                                                                   7     the United States Constitution.

                                                                   8               3.     The bases for the relief requested herein are 11 U.S.C. §§ 547 and 550 and

                                                                   9     Bankruptcy Rule 7001.

                                                                  10                                                 THE PARTIES

                                                                  11               4.     Plaintiff, Richard M. Pachulski, is the duly appointed and acting Chapter 11 Trustee
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                                                                  12     of the bankruptcy estate of Layfield & Barrett, APC (“L&B” or the “Debtor”), in the above-
                                        LOS ANGELES, CALIFORNIA




                                                                  13     captioned bankruptcy case pending in the United States Bankruptcy Court for the Central District of
                                           ATTORNEYS AT LAW




                                                                  14     California (the “Bankruptcy Court”), assigned case number 2:17-bk-19548-NB (the “Bankruptcy

                                                                  15     Case”).

                                                                  16               5.     Plaintiff is informed and believes, and based thereon alleges, that Defendant Jeffrey

                                                                  17     Young (“Young”) is an individual who formerly was a client of L&B in a lawsuit filed by Young

                                                                  18     against Union Pacific Railroad Company in the Los Angeles Superior Court, Case No. BC542593,

                                                                  19     (the “Young/Union Pacific Lawsuit”) and that Young currently is, and at all relevant times was, a

                                                                  20     resident of the County of Los Angeles, State of California.

                                                                  21               6.     Plaintiff is informed and believes, and based thereon alleges, that Defendant Conal

                                                                  22     Doyle (“Doyle”) is an individual who formerly was a co-counsel with L&B involved in representing

                                                                  23     Young in the Young/Union Pacific Lawsuit and that Doyle currently is, and at all relevant times was,

                                                                  24     a resident of the County of Los Angeles, State of California.

                                                                  25               7.     Plaintiff is informed and believes, and based thereon alleges, that Defendant Wilshire

                                                                  26     Law Firm, PLC (“Wilshire”) is, and at all relevant times was, a California law corporation which

                                                                  27     formerly was a co-counsel with L&B involved in representing Young in the Young/Union Pacific

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                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59               Desc
                                                                                                      Main Document     Page 3 of 10


                                                                   1     Lawsuit and that Wilshire currently is, and at all relevant times was, doing business, and with its

                                                                   2     principal place of business, in the County of Los Angeles, State of California.

                                                                   3             8.       Plaintiff is informed and believes, and based thereon alleges, that Defendant Babak

                                                                   4     Bobby Saadian (“Saadian”) is an individual who formerly, in his capacity as an employee of

                                                                   5     Wilshire, was a co-counsel with L&B involved in representing Young in the Young/Union Pacific

                                                                   6     Lawsuit and that Saadian currently is, and at all relevant times was, a resident of the County of Los

                                                                   7     Angeles, State of California.

                                                                   8             9.       Plaintiff is informed and believes, and based thereon alleges, that Defendant Neifert

                                                                   9     Korshid, a professional law corporation (“Neifert Korshid”) is, and at all relevant times was, a

                                                                  10     professional law corporation which formerly was, and currently is, counsel representing Young in

                                                                  11     connection with a dispute that arose between Young and L&B relating to the Young/Union Pacific
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                                                                  12     Lawsuit and that Neifert Korshid currently is, and at all relevant times was, doing business, and with
                                        LOS ANGELES, CALIFORNIA




                                                                  13     its principal place of business, in the County of Los Angeles, State of California.
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                                                                  14             10.      Plaintiff is informed and believes, and based thereon alleges, that Does 1 through 10

                                                                  15     were either the immediate or mediate transferee of one or more of the preferential transfers

                                                                  16     hereinafter alleged and/or alter ego of an immediate or mediate transferee of one or more of such

                                                                  17     preferential transfers. The true names the defendants named herein as Does 1 through 10 are

                                                                  18     unknown to Plaintiff, who therefore sues such defendants by such fictitious names. Plaintiff will

                                                                  19     amend this Complaint to show their true names when the same have been ascertained.

                                                                  20                                            BACKGROUND FACTS

                                                                  21             11.      L&B was a professional law corporation with offices in a number of states, including

                                                                  22     California, Utah and Arizona.

                                                                  23             12.      On August 3, 2017 (the “Petition Date”), petitioning creditors The Dominguez Firm

                                                                  24     (“TDF”), Nayazi Reyes and Maria A. Rios (the “Petitioning Creditors”) filed an involuntary petition

                                                                  25     for relief under chapter 7 of the Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy

                                                                  26     Code”), against the Debtor in the Bankruptcy Court. Pursuant to section 541(a) of the Bankruptcy

                                                                  27     Code, the commencement of the Bankruptcy Case “creates an estate … comprised of … all legal or

                                                                  28     equitable interests of the debtor in property …,” including, without limitation, all of a debtor’s

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                                                                         DOCS_LA:315850.1 51414/001
                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59               Desc
                                                                                                      Main Document     Page 4 of 10


                                                                   1     claims, litigation rights and “property that the trustee recovers under section … 550” of the

                                                                   2     Bankruptcy Code (collectively, the “Bankruptcy Estate”). 11 U.S.C. §§ 541(a)(1), (3).

                                                                   3             13.      That same day, the Petitioning Creditors filed an Emergency Motion for Appointment

                                                                   4     of an Interim Trustee Under 11 U.S.C. § 303(g) and Granting Emergency Relief (the “Trustee

                                                                   5     Motion”). In the Trustee Motion, the Petitioning Creditors asserted, among other allegations, that

                                                                   6     L&B clients’ “[s]ettlement proceeds have not been distributed and may no longer exist, vendors and

                                                                   7     other creditors have not been paid and clients are effectively unrepresented in some 80 pending

                                                                   8     cases,” and that, consequently, the appointment of a trustee is “essential to protect and preserve

                                                                   9     property of the … estate and to prevent concealment, waste, loss or conversion of the assets of the

                                                                  10     estate ….”

                                                                  11             14.      In response to the Trustee Motion, L&B, filed a Motion to Convert Case Under 11
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                                                                  12     U.S.C. §§ 706(a) or 1112(a) on August 8, 2017 (the “Conversion Motion”), seeking to convert the
                                        LOS ANGELES, CALIFORNIA




                                                                  13     Bankruptcy Case to one under chapter 11 of the Bankruptcy Code. The Bankruptcy Court entered
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                                                                  14     orders granting the Conversion Motion, and denying the Trustee Motion.

                                                                  15             15.      On August 16, 2017, L&B, Petitioning Creditors, and secured creditor, Advocate

                                                                  16     Capital, Inc. (“Advocate Capital”), entered into a Stipulation for the Appointment of a Chapter 11

                                                                  17     Trustee, which the Bankruptcy Court approved by order on August 17, 2017.

                                                                  18             16.      On August 21, 2017, the United States Trustee (the “UST”) filed its Notice of

                                                                  19     Appointment of Chapter 11 Trustee, appointing Plaintiff Richard M. Pachulski as Chapter 11 Trustee

                                                                  20     in the Bankruptcy Case. Also on August 21, 2017, the UST filed an Application for Order

                                                                  21     Approving Appointment of Chapter 11 Trustee, which application was granted by the Bankruptcy

                                                                  22     Court’s order entered the following day.

                                                                  23             17.      On August 28, 2017, Plaintiff filed his Acceptance of Appointment as Chapter 11

                                                                  24     Trustee in the Bankruptcy Case.
                                                                                                      THE SUBJECT TRANSFERS
                                                                  25
                                                                                 18.      Plaintiff is informed and believes, and based thereon alleges, that on or about April
                                                                  26
                                                                         21, 2017, a Mutual Release and Settlement Agreement (the “Young Settlement Agreement”) was
                                                                  27
                                                                         entered into by and between L&B, on the one hand, and Young, Doyle, Saadian and Wilshire which
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                                                                         DOCS_LA:315850.1 51414/001
                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59                Desc
                                                                                                      Main Document     Page 5 of 10


                                                                   1     provided that L&B was obligated to make the a payment of $58,750.27 to Doyle (the “Doyle

                                                                   2     Payment Obligation”), a payment of $179,098.20 to Wilshire (the “Wilshire Payment Obligation”)

                                                                   3     and a payment of $250,000 to Young (the “Young Payment Obligation” and, jointly with the “Doyle

                                                                   4     Payment Obligation and the Wilshire Payment Obligation, the “Young Settlement Agreement

                                                                   5     Payment Obligations”).

                                                                   6             19.      Plaintiff is informed and believes, and based thereon alleges, that during the 90-day

                                                                   7     period prior to the commencement of L&B’s bankruptcy case (the “Preference Period”), TDF, for

                                                                   8     and at the direction of L&B in satisfaction of the Young Settlement Agreement Payment

                                                                   9     Obligations, transferred funds then due and owing to, and the property of, L&B as follows: (1) on or

                                                                  10     about June 16, 2017, TDF issued and transmitted to Doyle a check made payable to Doyle Law in

                                                                  11     the amount of $58,750.27 in satisfaction of the Doyle Payment Obligation (the “Doyle Transfer”);
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                                                                  12     (2) on or about June 16, 2017, TDF issued and transmitted to Neifert Khorshid a check made
                                        LOS ANGELES, CALIFORNIA




                                                                  13     payable to the Neifert Khorshid Client Trust Account in the amount of $250,000 to Young in
                                           ATTORNEYS AT LAW




                                                                  14     satisfaction of the Young Payment Obligation (the “Young Transfer”); and (3) on or about June 20,

                                                                  15     2017, TDF issued and transmitted to Wilshire a check made payable to Wilshire in the amount of

                                                                  16     $179,098.20 to Wilshire in satisfaction of the Wilshire Payment Obligation (the “Wilshire Transfer”

                                                                  17     and, jointly with the Doyle Transfer and the Young Transfer, the “Young Settlement Agreement

                                                                  18     Transfers”).

                                                                  19                                                           I.

                                                                  20                                          FIRST CAUSE OF ACTION

                                                                  21                                    (For Avoidance of Preferential Transfer

                                                                  22                      Pursuant to 11 U.S.C. § 547(b) Against Doyle and Does 1 through 3)

                                                                  23             20.      Plaintiff refers to and incorporates herein by reference each and every allegation

                                                                  24     contained in Paragraphs 1 through 19, above.

                                                                  25             21.      Plaintiff is informed and believes, and based thereon alleges, that during the

                                                                  26     Preference Period, Doyle was a creditor of L&B.

                                                                  27             22.      Plaintiff is informed and believes, and based thereon alleges, that the Doyle Transfer

                                                                  28     was made to or for the benefit of Doyle and Does 1 through 3.

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                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59                Desc
                                                                                                      Main Document     Page 6 of 10


                                                                   1             23.      Plaintiff is informed and believes, and based thereon alleges, that Doyle Transfer was

                                                                   2     made for or on account of an antecedent debt owed by L&B to Doyle under the terms of the Young

                                                                   3     Settlement Agreement.

                                                                   4             24.      Plaintiff is informed and believes, and based thereon alleges, that the Doyle Transfer

                                                                   5     was made during the Preference Period.

                                                                   6             25.      Plaintiff is informed and believes, and based thereon alleges, that the Doyle Transfer

                                                                   7     was made while L&B was insolvent.

                                                                   8             26.      Plaintiff is informed and believes, and based thereon alleges, that the Doyle Transfer

                                                                   9     enabled Doyle and Does 1 through 3 to receive more than Doyle and Does 1 through 3 would have

                                                                  10     received if (i) L&B’s chapter 11 case was instead a case under chapter 7 of the Bankruptcy Code; (ii)

                                                                  11     the transfer and/or payment had not been made; and (iii) Doyle and Does 1 through 3 received
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                                                                  12     payment on account of the debt paid by the Doyle Transfer to the extent provided by the Bankruptcy
                                        LOS ANGELES, CALIFORNIA




                                                                  13     Code.
                                           ATTORNEYS AT LAW




                                                                  14             27.      Plaintiff is informed and believes, and based thereon alleges, that the Doyle Transfer

                                                                  15     constitutes an avoidable preference pursuant to section 547(b) of the Bankruptcy Code.

                                                                  16                                                        II.

                                                                  17                                        SECOND CAUSE OF ACTION

                                                                  18                                    (For Avoidance of Preferential Transfer

                                                                  19              Pursuant to 11 U.S.C. § 547(b) Against Wilshire, Saadian and Does 4 through 6)

                                                                  20             28.      Plaintiff refers to and incorporates herein by reference each and every allegation

                                                                  21     contained in Paragraphs 1 through 19, above.

                                                                  22             29.      Plaintiff is informed and believes, and based thereon alleges, that during the

                                                                  23     Preference Period, Wilshire was a creditor of L&B.

                                                                  24             30.      Plaintiff is informed and believes, and based thereon alleges, that the Wilshire

                                                                  25     Transfer was made to or for the benefit of Wilshire, Saadian and Does 4 through 6.

                                                                  26             31.      Plaintiff is informed and believes, and based thereon alleges, that Wilshire Transfer

                                                                  27     was made for or on account of an antecedent debt owed by L&B to Wilshire under the terms of the

                                                                  28     Young Settlement Agreement.

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                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59                Desc
                                                                                                      Main Document     Page 7 of 10


                                                                   1             32.      Plaintiff is informed and believes, and based thereon alleges, that the Wilshire

                                                                   2     Transfer was made during the Preference Period.

                                                                   3             33.      Plaintiff is informed and believes, and based thereon alleges, that the Wilshire

                                                                   4     Transfer was made while L&B was insolvent.

                                                                   5             34.      Plaintiff is informed and believes, and based thereon alleges, that the Wilshire

                                                                   6     Transfer enabled Wilshire, Saadian and Does 4 through 6 to receive more than Wilshire, Saadian and

                                                                   7     Does 4 through 6 would have received if (i) L&B’s chapter 11 case was instead a case under chapter

                                                                   8     7 of the Bankruptcy Code; (ii) the transfer and/or payment had not been made; and (iii) Wilshire,

                                                                   9     Saadian and Does 4 through 6 received payment on account of the debt paid by the Wilshire

                                                                  10     Transfer to the extent provided by the Bankruptcy Code.

                                                                  11             35.      Plaintiff is informed and believes, and based thereon alleges, that the Wilshire
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                                                                  12     Transfer constitutes an avoidable preference pursuant to section 547(b) of the Bankruptcy Code.
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                        III.
                                           ATTORNEYS AT LAW




                                                                  14                                          THIRD CAUSE OF ACTION

                                                                  15                                    (For Avoidance of Preferential Transfer

                                                                  16          Pursuant to 11 U.S.C. § 547(b) Against Young, Neifert Korshid and Does 7 through 10)

                                                                  17             36.      Plaintiff refers to and incorporates herein by reference each and every allegation

                                                                  18     contained in Paragraphs 1 through 19, above.

                                                                  19             37.      Plaintiff is informed and believes, and based thereon alleges, that during the

                                                                  20     Preference Period, Young was a creditor of L&B.

                                                                  21             38.      Plaintiff is informed and believes, and based thereon alleges, that the Young Transfer

                                                                  22     was made to or for the benefit of Young, Neifert Korshid and Does 7 through 10.

                                                                  23             39.      Plaintiff is informed and believes, and based thereon alleges, that Young Transfer was

                                                                  24     made for or on account of an antecedent debt owed by L&B to Young under the terms of the Young

                                                                  25     Settlement Agreement.

                                                                  26             40.      Plaintiff is informed and believes, and based thereon alleges, that the Young Transfer

                                                                  27     was made during the Preference Period.

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                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59               Desc
                                                                                                      Main Document     Page 8 of 10


                                                                   1             41.      Plaintiff is informed and believes, and based thereon alleges, that the Young Transfer

                                                                   2     was made while L&B was insolvent.

                                                                   3             42.      Plaintiff is informed and believes, and based thereon alleges, that the Young Transfer

                                                                   4     enabled Young, Neifert Korshid and Does 7 through 10 to receive more than Young, Neifert Korshid

                                                                   5     and Does 7 through 10 would have received if (i) L&B’s chapter 11 case was instead a case under

                                                                   6     chapter 7 of the Bankruptcy Code; (ii) the transfer and/or payment had not been made; and (iii)

                                                                   7     Young, Neifert Korshid and Does 7 through 10 received payment on account of the debt paid by the

                                                                   8     Young Transfer to the extent provided by the Bankruptcy Code.

                                                                   9             43.      Plaintiff is informed and believes, and based thereon alleges, that the Young Transfer

                                                                  10     constitutes an avoidable preference pursuant to section 547(b) of the Bankruptcy Code.

                                                                  11                                                        IV.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                        FOURTH CAUSE OF ACTION
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                       (For Recovery of Avoided Transfer
                                           ATTORNEYS AT LAW




                                                                  14                        Pursuant to 11 U.S.C. § 550 Against Doyle and Does 1 through 3)

                                                                  15             44.      Plaintiff refers to and incorporates herein by reference each and every allegation

                                                                  16     contained in Paragraphs 1 through 19 and 21 through 27, above.

                                                                  17             45.      Plaintiff is informed and believes, and based thereon alleges, that each of Doyle and

                                                                  18     Does 1 through 3 was either (i) the initial transferee of the Doyle Transfer, (ii) the entity for whose

                                                                  19     benefit the Doyle Transfer was made, or (iii) an immediate or mediate transferee of the Doyle

                                                                  20     Transfer.

                                                                  21             46.      Plaintiff is informed and believes, and based thereon alleges, that the Doyle Transfer

                                                                  22     is recoverable pursuant to section 550 of the Bankruptcy Code and that Plaintiff is entitled to recover

                                                                  23     the value of the Doyle Transfer from each and all of Doyle and Does 1 through 3 pursuant to section

                                                                  24     550(a) of the Bankruptcy Code.

                                                                  25

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                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59               Desc
                                                                                                      Main Document     Page 9 of 10


                                                                   1                                                        V.

                                                                   2                                          FIFTH CAUSE OF ACTION

                                                                   3                                       (For Recovery of Avoided Transfer

                                                                   4                Pursuant to 11 U.S.C. § 550 Against Wilshire, Saadian and Does 4 through 6)

                                                                   5             47.      Plaintiff refers to and incorporates herein by reference each and every allegation

                                                                   6     contained in Paragraphs 1 through 19 and 29 through 35, above.

                                                                   7             48.      Plaintiff is informed and believes, and based thereon alleges, that each of Wilshire,

                                                                   8     Saadian and Does 4 through 6 was either (i) the initial transferee of the Wilshire Transfer, (ii) the

                                                                   9     entity for whose benefit the Wilshire Transfer was made, or (iii) an immediate or mediate transferee

                                                                  10     of the Wilshire Transfer.

                                                                  11             49.      Plaintiff is informed and believes, and based thereon alleges, that the Wilshire
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                                                                  12     Transfer is recoverable pursuant to section 550 of the Bankruptcy Code and that Plaintiff is entitled
                                        LOS ANGELES, CALIFORNIA




                                                                  13     to recover the value of the Wilshire Transfer from each and all of Wilshire, Saadian and Does 4
                                           ATTORNEYS AT LAW




                                                                  14     through 6 pursuant to section 550(a) of the Bankruptcy Code.

                                                                  15                                                        VI.

                                                                  16                                          SIXTH CAUSE OF ACTION

                                                                  17                                       (For Recovery of Avoided Transfer

                                                                  18           Pursuant to 11 U.S.C. § 550 Against Young, Neifert Korshid and Does 7 through 10)

                                                                  19             50.      Plaintiff refers to and incorporates herein by reference each and every allegation

                                                                  20     contained in Paragraphs 1 through 19 and 37 through 43, above.

                                                                  21             51.      Plaintiff is informed and believes, and based thereon alleges, that each of Young,

                                                                  22     Neifert Korshid and Does 7 through 10 was either (i) the initial transferee of the Young Transfer, (ii)

                                                                  23     the entity for whose benefit the Young Transfer was made, or (iii) an immediate or mediate

                                                                  24     transferee of the Young Transfer.

                                                                  25             52.      Plaintiff is informed and believes, and based thereon alleges, that the Young Transfer

                                                                  26     is recoverable pursuant to section 550 of the Bankruptcy Code and that Plaintiff is entitled to recover

                                                                  27     the value of the Young Transfer from each and all of Young, Neifert Korshid and Does 7 through 10

                                                                  28     pursuant to section 550(a) of the Bankruptcy Code.

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                                                                       Case 2:18-ap-01233-NB          Doc 1 Filed 07/23/18 Entered 07/23/18 14:25:59                   Desc
                                                                                                      Main Document    Page 10 of 10


                                                                   1                                             PRA
                                                                                                                   AYER FOR
                                                                                                                          R RELIEF

                                                                   2             WHEREFORE, Plaiintiff prays for
                                                                                                             f judgmentt in each cauuse of actionn as follows:

                                                                   3             1.        ursuant to the First and Fourth
                                                                                          Pu                        F      Causees of Action, enter judgm
                                                                                                                                                        ment in favoor of Plaintifff

                                                                   4     and against
                                                                             a       Doyle and Does 1 through 3 under
                                                                                                                u     sectioons 547 and 5550 of the B
                                                                                                                                                    Bankruptcy C
                                                                                                                                                               Code and

                                                                   5         w Plaintiff to avoid and reecover the Doyle
                                                                         allow                                     D     Transffer in the am
                                                                                                                                           mount of $58,750.27;

                                                                   6             2.        Pursuant to th
                                                                                                        he Second an
                                                                                                                   nd Fifth Cauuses of Actioon, enter judggment in favvor of

                                                                   7     Plain
                                                                             ntiff and agaiinst Wilshiree, Saadian an
                                                                                                                    nd Does 4 thhrough 6 undder sections 5547 and 5500 of the

                                                                   8     Bank
                                                                            kruptcy Codee and allow Plaintiff
                                                                                                    P         to avoid
                                                                                                                 a     and reccover the Wilshire Transsfer in the am
                                                                                                                                                                   mount of

                                                                   9     $179,098.20;

                                                                  10             3.       Pu
                                                                                           ursuant to the Third and Sixth Causees of Action,, enter judgm
                                                                                                                                                        ment in favorr of Plaintifff

                                                                  11     and against
                                                                             a       Youn
                                                                                        ng, Neifert Korshid
                                                                                                    K       and Does
                                                                                                                D    7 throuugh 10 under sections 5447 and 550 oof the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12     Bank
                                                                            kruptcy Codee and allow Plaintiff
                                                                                                    P         to avoid
                                                                                                                 a     and reccover the Yooung Transfeer in the amoount of
                                        LOS ANGELES, CALIFORNIA




                                                                  13     $250,000.00;
                                           ATTORNEYS AT LAW




                                                                  14             4.       Aw
                                                                                           ward Plaintiff prejudgment interest aat the legallyy allowed appplicable ratee;

                                                                  15             5.       Aw
                                                                                           ward Plaintiff‘s costs an
                                                                                                                   nd expenses oof suit hereinn; and

                                                                  16             6.       Grrant Plaintifff such other and further relief as the Court deem
                                                                                                                                                          ms just and apppropriate.

                                                                  17

                                                                  18     Dated
                                                                             d: July 23, 2018                            PACHU
                                                                                                                             ULSKI STAN
                                                                                                                                      NG ZIEHL & JONES L
                                                                                                                                                       LLP

                                                                  19
                                                                                                                         /s/ Jamees K.T. Huntter
                                                                  20                                                     James KK.T. Hunter
                                                                  21                                                     Attorneyys for Plainttiff Richard M
                                                                                                                                                           M. Pachulskki, Chapter
                                                                  22                                                     11 Trusttee for the bbankruptcy estate of Layffield &
                                                                                                                         Barrett, APC
                                                                  23

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